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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


 UNITED STATES OF AMERICA
                                                  Docket No. 2:19-mj-364 (JHR)
      v.

 JUDITH RUIZ




                                 NOTICE OF DISMISSAL

       The United States of America hereby moves to dismiss the Criminal Complaint filed in

the above-captioned matter.

       Dated at Portland, Maine this 27th day of October, 2020.

                                                    Respectfully submitted,

                                                    Halsey B. Frank
                                                    United States Attorney

                                                    /s/Noah Falk
                                                    Assistant U.S. Attorney
                                                    United States Attorney’s Office




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 27, 2020, I filed the foregoing Notice of Dismissal using
the Court’s CM/ECF system, which will cause a copy to be sent to the following counsel:

Heather Gonzales, Esq.



                                                    /s/Noah Falk
                                                    Assistant U.S. Attorney
                                                    United States Attorney’s Office
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                                                    Portland, ME 04101
                                                    noah.falk@usdoj.gov




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